                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ENCOMPASS INSURANCE COMPANY,                          CIVIL DIVISION

                                                      No. 2:17-cv-00125-AJS
                       Plaintiff,


        v.

STONE MANSION RESTAURANT,
INCORPORATED,


                       Defendant.



                                    MOTION FOR REMAND

        Plaintiff, Encompass Insurance Company, by and through its attorneys, and pursuant to

28 U.S.C. 1447(c), files this Motion for Remand. Defendant moves for remand based on 28

U.S.C. §§ 1441, 1446, and 1447, the federal case law, and the agreement of counsel with respect

to service. A Memorandum of Law in Support of this Motion has been filed contemporaneously

with this Motion and is incorporated by reference as if fully rewritten herein.

                                              Respectfully Submitted,

                                              ROBB LEONARD MULVIHILL LLP



Date: 1/30/2017                                /s/ Joshua R. Guthridge_______________
                                              Joshua R. Guthridge, Esquire
                                              Counsel for Plaintiff Encompass Insurance
                                              Company of America




{R0655642.1 }
